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 8                            UNITED STATED DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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11 LISA MARIE RODRIGUEZ, an                 No. 5:20-cv-01856-JAK (SPx)
12 Individual,
13
                 Plaintiff,
14                                          ORDER RE JOINT STIPULATION FOR
           vs.                              DISMISSAL WITH PREJUDICE (DKT. 28)
15
16 AMAZON.COM, INC., a Delaware              JS-6
17   Corporation, DBA AMAZON;
     AMAZON.COM SERVICES LLC, a
18   Delaware Limited Liability Company,
19   DBA AMAZON; AMAZON
     LOGISTICS, INC., a Delaware
20   Corporation, DBA AMAZON; and
21   DOES 1 through 10, Inclusive,
22
             Defendants.
23 ______________________________
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            ORDER RE JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
     Case 5:20-cv-01856-JAK-SP Document 29 Filed 11/24/21 Page 2 of 2 Page ID #:286


 1         Based on a review of the Joint Stipulation for Dismissal With Prejudice (the
 2 “Stipulation” (Dkt. 28)), sufficient good cause has been shown for the requested relief.
 3 Therefore, the Stipulation is APPROVED. Pursuant to Federal Rule of Civil Procedure
 4 41(a), the above-captioned action is dismissed with prejudice in its entirety and as to all
 5 current and former defendants. Each party shall bear his/its own costs and attorneys’ fees.
 6 The Court shall retain jurisdiction to enforce the terms of any Settlement Agreement
 7 between the parties.
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     IT IS SO ORDERED.
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     DATED: November 24, 2021              SIGNED:
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                                                        _____________________________
13                                                      John. A. Kronstadt
                                                        United States District Judge
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            ORDER RE JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
